Filed 08/27/24                             Case 24-01028                                            Doc 1

 CP)                                  41

                                                                        LL   FILED
          Carol Aoese Tavita
          5536 W. Cromwell Avenue                                      12 AUG 27 2024
          Fresno, CA 93722                                                   STATES BANKRUPTCY
          Telephone: 559-360-1968                                            RN DISTRICT OF CALIF

          Email: caroltavita6(äcjmail.com
          SSN: XXX-XX-5262


          UNITED STATES BANKRUPTCY COURT
          EASTERN DISTRICT OF CALIFORNIA

           In Re: Carol Aoese Tavita                Case No.   -   24-10350

           Debtor
                                                           c2'4O,3j
                                                    Chapter: 7


           Carol Aoese Tavita
                                                    Adversary Proceeding
                         Plaintiff                  Complaint

           V.



                 Department of Education!
                 MOHELA

                 NAVIENT SOLUTIONS, LLC.

                         Defendants
Filed 08/27/24                                Case 24-01028                                   Doc 1




             Debtor's Complaint to Determine Dischargeability of
                   Student Loans Due to Undue Hardship
                            11 U.S.C. 523 (a) (8)


          Parties:

                 Carol Tavita is a citizen of both California and the United States, who
                 resides in Fresno, California, which is within the jurisdiction of the
                 Eastern District Court of California.
                 Defendant   -   Department of Education/ Mohela
                 Defendant   -   NavieAt Solutions, LLC



          JURISDICTION AND VENUE:


          This adversary proceeding is brought under 11 USC § 523(a)(8) and Rule
          7001(9) of the Federal Rules of Bankruptcy Procedure and its civil analog,
          28 USC §2201.


          This Court has jurisdiction over this adversary proceeding under § 157(b)
          and § 1334 (b) of the Judiciary and Judicial Procedural Rules. Venue is
          proper in the Eastern District of California under 28 USC § 1409 because
          this matter arises in and is related to a bankruptcy case filed in this district.


           Carol consents to entry of final orders or judgement by the bankruptcy
           court.


           On February 19, 2024, Carol Tavita filed a Chapter 7 bankruptcy case in
           California. This is an adversary proceeding by which the individual debtor
           seeks a declaration that repayment of her student loans from the above-
           captioned defendants (collectively, "Defendants") in the amount of
           $226,529.00, would be an undue hardship under Bankruptcy Code section
Filed 08/27/24                             Case 24-01028                                    Doc 1




          523 (a) (8). Debtor, Mrs. Tavita attaches a signed Attestation to the
          Department Attorney with a copy of Mrs. Tavita's 2024 tax return. Pursuant
          to the Guidance, the Department Attorney would evaluate the information
          provided in the Attestation as follows to determine if the facts in Mrs.
          Tavita's case justify stipulating that she has shown an undue hardship
          within the meaning of Section 523 (a) (8) of the Bankruptcy Code.


          PERSONAL INFORMATION:
          My Attestation lists relevant background information. It shows that I live in
          Fresno County, California, in a household consisting of myself (age 52),
          husband (age 55), and my daughter (age 19). I list a student loan balance
          of $226,529.00, and both loans are in an income base repayment plan.

          In my attempt to earn an undergraduate Business Administration degree, I
          had to attend a few colleges in my lifetime. I had attended CSU, Hayward
          in August, of 1989— June of 1995, and took 2 quarters off. I struggle during
          that time because I had my first son in 1991. I worked part time during this
          college period but could not get any job opportunity for a career or
          complete my Bachelor's degree. I had my second child in August of 1995.
          Attended Fresno Institute of Technology and earned a Computerized Office
          Administration Certificate for this vocation school in 1997. Attended one
          semester at Fresno State University around 1996. I try to go back to school
          to get my BA degree with University of Phoenix around 2001 but I could not
          finish cause my third son was always getting sick that kept getting me to
          miss classes. I end up withdrawing. In 2010-2012, I was told that online
          classes would be better for adults to get their BA degrees. I attended Grand
          Canyon University online in 2010, and I was not able to complete classes
          as required. The cost was high, and everything was constrained in time.
          Over the years, I had accumulated so many loans and did not receive a
          degree in business. I borrowed over $56,000 in student loans now held by
          Mohela and Navient. Navient had consolidated my loans. My balance for
          Navient is $207,793 and Mohela balance is $14,767. The total of both
          loans is $222,560. I have made requests almost every year for deferments
          and forbearances opportunities when I can.


           My efforts, however, have gotten me nowhere. It was a challenge to sustain
           good paying jobs in the Fresno County area. My balances and interest
           have tripled. I owe over $200 thousand dollars. I do not see any relief in the
Filed 08/27/24                            Case 24-01028                                    Doc 1




          horizon, and I cannot qualify for any forgiveness plan only for income-
          based repayment plans that will just keep increasing my interest.

          My employment history, experience, and current skills render my
          qualification for work in customer service and administration. It is unclear
          such work would render a salary high enough to permit me to repay my
          student loans based on my actual earnings from work in these fields. My
          employment history in this Court's record shows that I have actual
          earnings, with my skills and experience, did not provide sufficient income to
          make the payments on the student loan debt.

          PRESENTABILITY TO PAY:
          I am currently the only one working in our household full time for 1 year at
          Internal Revenue Service as a Contact Representative. I reported on our
          attestation that I earn $2,900.00 per month and current monthly expenses
          of $3,200.00, including $620.00 that is deducted from my paycheck for
          taxes, Medicare, Social Security, Health Insurance, Life Insurance, and
          retirement.

          If I stay at my current position for the rest of my years to retirement age of
          65, my income may increase $1 $2 per hour a year. My net income may
                                            -




          be roughly be around $3,200 —4,200 net income a month in the next 2 5     -




          years. Even at that income, I would not be able to pay any amount towards
          my monthly loan payments would be around $1,194.50.

          We are filing bankruptcy because we could not afford to pay our debts
          because of my only income for our household. We are about to lose our
          house by selling our house to pay all our Creditors. With the increasing cost
          of living in our county and in the state of California, my income will not be
          enough to pay the $1,194.50 per month for both loans. This monthly
          payment is an estimate.

           My husband and I have some medical issues now that we are both over the
           age of 50. My husband had two strokes in the past, and in 2020, he applied
           for disability insurance through SSA because he has diabetes mellitus type
           II with peripheral neuropathy and nephropathy, and cataracts. His cataracts
           were corrected but his eyesight is still not normal. He lasted work in 2019
           as a field technician. He is having difficulty with self-care and independent
Filed 08/27/24                               Case 24-01028                                 Doc 1




          living. I am helping with most of his self-care activity at home on the daily
          basis because he has a hard time standing long. My husband's claim was
          denied for disability insurance and now he had to file a lawsuit against SSA
          as his final step.

          I have been diagnosed with diabetes type II with Severe Kidney Disease,
          Chronic Kidney Disease, Gout, hypertension, and got Osteoarthritis of
          Bilateral Shoulders. I am taking several medications. I am prescribed
          Jardiance and Insulin Glargine with needles to lower my blood sugar. I use
          Dexcom G7 sensor to monitor my glucose day and night. I am prescribed
          Amlodipine, Metoprolol Succiriate, and Lisinopril to treat my high blood
          pressure. I am prescribed Lidocaine Patch to relieve pain in my shoulders.

          I am bringing our medical issues up because when I selected coverage for
          health insurance through my employer during open enrollment in
          November 2023, I was not aware if Medi-Cal would cover us for 2024.
          Therefore, I got the best Kaiser Plan since we are getting more seen by our
          doctors and medications are prescribed constantly monthly which is a
          normal monthly expense. We found out from Health and Human Services
          Agency with the State of California that we were qualified to get our Medi-
          Cal healthcare got renewed for 2024 in May 2024. I cannot cancel Kaiser
          Health Plan until open enrollment in November 2024 for 2025-year
          coverage. I will use both healthcare coverages to assist us with our
          healthcare costs for the next few months.


          I did provide information about my income and expenses in Part II of the
          Attestation. I reported that I earned $2900 per month and has current
          monthly expenses of $ We will be losing our house and our vehicle during
          our bankruptcy to pay our creditors back. Therefore, our expenses will be
          changing in a few weeks. Our family will be looking for housing and another
          vehicle. We do not have a car right now. We will not know what our
          inadequate housing cost will be or our expense in financing a vehicle for
          transportation will be. Below are the steps the Department attorney, in
          consultation with Education, takes in analyzing my income and expenses:


                 1) The Department attorney checks my submitted tax return to
                    determine if it is consistent with my stated gross income ($2900). I
                    have filed the 2023 tax return and attached for the Department
Filed 08/27/24                            Case 24-01028                                     Doc 1




                 attorney to review. My tax return shows Adjusted Gross Income of
                 $36,998.00. This amount divided by 12 is $3,083, a monthly average
                 which is consistent with (and slightly more) than the $2,900 I have
                 listed on the Attestation. The income stated on the Attestation thus
                 appears correct.

             2) The Department attorney should use the IRS standards to determine
                my allowable expenses:

                         Payroll deductions. My payroll deductions of $540 are almost
                         certainly allowable. I have deducted $195 for taxes,
                         Medicare, and Social Security expenses, which are generally
                         allowed under the IRS Standards, and the Department
                         attorney should accept the amount of tax withholdings as an
                         expense unless there is an obvious pattern of over
                         withholding. In general, excessive withholding will be
                         accompanied by a significant tax refund, however, my recent
                         tax refund for tax year 2023 is $3,031. (which averages to a
                         hypothetical $252 in monthly income) an amount which is
                         not significant. Accordingly, there is no basis to conclude that
                         I had excessive withholding.

                         My payroll deduction for health insurance of $538 health
                         insurance (Line 15(a)(vi)) is also almost certainly allowable.
                         The Department attorney should generally allow health
                         insurance expenses (whether payroll deductions or not) as
                         long as the debtor indicates the policy covers only family
                         members and not others. On Line 15 (a)(vi) health deduction
                         appears appropriate.

                          Living Expenses (National and Local Standards).


                          Line 14(a) of the Attestation asks the debtor to confirm
                          whether certain expenses are within amounts allowed under
                          the IRS National Standards. Here, I have confirmed that my
                          household monthly expenses do not exceed the allowed
                          amounts for the following categories, nor the aggregate
                          amount for these categories. The Department attorney
Filed 08/27/24                              Case 24-01028                                    Doc 1




                          should allow the full amount for these categories (for a
                          household of three):


                                    Food: $977
                                    Housekeeping supplies: $83
                                    Apparel & Services: $187
          .ti                       Personal care products and services: $87
                                    Miscellaneous: $343
                                    Total: $1677



           My allowed expenses of $ $2,246.60 exceeds my monthly income of
           $1,952.94, which has been verified by my tax returns and my individual
    :•,    filing for Bankruptcy Chapter 7. Because my allowed expenses exceed
                                -




           my income, the Department attorney should find my current finances and
           income does not have sufficient means to pay my student loans while
           maintaining a minimal standard of living.


           Future Circumstances:


           Part Ill of my Attestation allows a debtor to attest to matters showing that
           the inability to pay will persist into the future. In Line 18, the debtor can
           attest to two circumstances that justify a presumption of a future inability to
           pay. I did not complete my degree with any of the colleges I had attended.
           Accordingly, I am entitled to a presumption that I am unable to repay the
           loan in the future.


           Although the presumption of future inability to pay is rebuttable, those
           circumstances should be infrequent. Illustratively, I did not provide any
           information in my Attestation that indicates a likely future ability to pay or
           that her financial circumstances are likely to change. The Attestation, as a
           whole, supports my claim that I will remain unable to pay. I have shown that
           I had to care for my family than completing my business degree. My current
           job does not offer significant raises or promotions. I am unable to find a
Filed 08/27/24                             Case 24-01028                                     Doc 1




          second job because of my health conditions and husband's health
          conditions. None of this information provides a basis to rebut the
          presumption of future inability to pay. Indeed, this information would appear
          to support a conclusion that I lack a future ability to pay even in the
          absence of any presumption. In this situation, there does not appear to be
          a need for the attorney to investigate further. Although there are
          circumstances where the Department attorney may reasonably make
          inquiry to supplement or elucidate statements in the Attestation, that need
          may be infrequent. In this example, the Department attorney should
          conclude that my inability to pay will continue for a significant portion of the
          repayment period.


          Prior Efforts to Repay Loans:


          Part IV of the Attestation provides information the Department attorney
          should use to determine if Carol Tavita has made a good faith effort to
          repay her loans. In this case, good faith should likely be found, because the
          information provided on Mrs. Tavitas Attestation reflects that she has
          maximized income by obtaining full-time employment, minimized expenses,
          and has not willfully attempted to avoid repaying her loans.


          If Department attorney looks at my history with my two lenders, I have
          always applied for a deferment or a forbearance every year. I have never
          gone into default with any of my student loans. My husband when he was
          working had supported some years, but it was tough to make ends meet
          when raising five children. I continued to work full time when I could, but
          nothing in the Attestation suggests I acted willfully by not enrolling in an
          IDRP or was disinterested in repaying my loans.


          Based on review of the Attestation, it is appropriate for the Department
          attorney to conclude that I am entitled to a discharge of my student loans.


          Praying:
                 Determine that in accordance with 11 USC § 523 (a) (8), the payment
                 of my loans would impose an undue hardship on me and my
                 dependents
Filed 08/27/24                           Case 24-01028                      Doc 1




                 Determine that my loans were discharged in my bankruptcy
                 proceeding; and
                 Grant such other relief this Court deems just and proper



          Respedtfully submitted,


          Carol Aoese Tavita
Filed 08/27/24                                        Case 24-01028                                               Doc 1
          [Updated August 2023]


                                          IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE   EASTERN DISTRICT OF CALIFORNIA

          In re:

                                                                          Case No. 2024-10350
           Carol Aoese Tavita
                                                                          Chapter [7]
                    Debtors.




          Carol Aoese Tavita
                    Plaintiff,                                            Adversary Pro. Complaint

          V.


          UNITED STATES DEPARTMENT
          OF EDUCATION, [et al.],

                    Defendant[s].


                                                     CAROL A. TAVITA IN SUPPORT
                                     ATTESTATION OF 1               1
                                      OF REQUEST FOR STIPULATION CONCEDING
                                       DISCHARGEABILITY OF STUDENT LOANS

               PLEASE NOTE: This Attestation should be submitted to the Assistant United States Attorney
               handling the case. It should not be filed with the court unless such a filing is directed by the
                                                   court or an attorney.
                            Carol A. Tavita
                    I, i                         1, make this Attestation in support of my claim that excepting

           the student loans described herein from discharge would cause an "undue hardship" to myself

           and my dependents within the meaning of 11 U.S.C. §523(a)(8). In support of this Attestation, I

           state the following under penalty of perjury:

                                              I. PERSONAL INFORMATION

                     1.     I am over the age of eighteen and am competent to make this Attestation.




                                                             -1-
Filed 08/27/24                                                Case 24-01028                                                   Doc 1
          [Updated August 2023]

                                            5536W. Cmmwcll Avcnue F.esno CA 93722                      Fresno
                         I reside at                                                   [address], in                County,
                          California
                                           state].

                         My household includes the following persons (including myself)
                        Carol Tavita                  .        52
                                                 [full name] _______[age]                                  [self]
                       Raymond Tavita                                    55                     Spouse.
                                                 [full name]                        [age]                  [relationship]
                        Joanna Tavita                                    19                   Daughter
                                                 [full name]                        [age] ________________[relationship]

                                                 [full name] _______[age]                                  [relationship]

                                                 [full name] _______[age]                                  [relationship]

                                                 [full name] _______[age]                                  [relationship]



          Questionsfour through eight request information related to your outstanding student loan
          debt and your educational history. The Department ofEducation willfurnish this information
          to the Assistant United States Attorney ("AUSA ") handling your case, and it should be
          provided to you. Ifyou agree that the info rmation provided to you regarding your student loan
          debt and educational history is accurate, you may simply confirm that you agree, and these
          questions do not need to be completed. Ifyou have not received the information from
          Education or the AUSA at the time you are completing this form, or ifthe information is not
          accurate, you may answer these questions based upon your own knowledge. Ifyou have more
          than one student loan which you are seeking to discharge in this adversary proceeding, please
          confirm that the AUSA has complete and accurate information for each loan, or provide that
          information for each loan.

                         I confirm that the student loan information and educational history provided tj me

           and attached to this Attestation is correct and complete: YESNO[l No Information Providedfl

           [If you answered anything other than "YES," you must answer questions five through eight].

                  5.     The outstanding balance of the student loan[s] Jam seeking to discharge in this
                                            226,529.00
           adversary proceeding is     $




                                                                         -2-
Filed 08/27/24                                          Case 24-01028                                                  Doc 1
          [Updated August 2023]


                 6.      The current monthly payment on such loan[s] is                                 The

          loan[s] are scheduledto be repaid in                                [month and year] [OR] 1:1 My

          student loan[s] went into default in                 [month and year].

                         I incurred the student loan[s] I am seeking to discharge while attending

                                          where I was pursuing a                        degree with a specialization

          in

                 8.      In                          [month and year], I completed my course of study and

          received a                          degree. [OR] In                           [month and year], I left my

          course of study and did not receive a degree.
                                                               Contact Representative
                         I am currently employed as a                                     My employer's name and
                        IRS, 855 St, Fresno, CA 93721
          address is                                       [OR]     fl I am not currently employed.
                                      II. CURRENT INCOME AND EXPENSES


                         I do not have the ability to make payments on my student loans while maintaining

          a minimal standard of living for myself and my household. I submit the following information to

          demonstrate this:

                 A. Household Gross Income
                                                                                                      3200.00
                         My current monthly householdgross income from all sources is             $




          This amount includes the following monthly amounts:



          I "Gross income" means your income before any payroll deductions (for taxes, Social Security,
          health insurance, etc.) or deductions from other sources of income. You may have included
          information about your gross income on documents previously filed in your bankruptcy case,
          including Form B 1061, Schedule I Your Income (Schedule I). If you filed your Schedule I
                                                 -



          within the past 18 months and the income information on those documents has not changed, you
          may refer to that document for the income information provided here. If you filed Schedule I
          more than 18 months prior to this Attestation, or your income has changed, you should provide
          your new income information.
                                                              -3-
Filed 08/27/24                                      Case 24-01028                                              Doc 1
          [Updated August 2023]

                   3200.00                    my gross income from employment (if any)
                                              my unemployment benefits
                                              my Social Security Benefits
                                              my
                                              my___________________
                                              my___________________
                                              gross income from employment of other members of household
                                             unemployment benefits received by other members of household
                                             Social Security benefits received by other members of household
                                      other income from any source received by other members of household

                          The current monthly household gross income stated above (select which applies):

                  _EL Includes a monthly average of the gross income shown on the most recent tax
                  return[s] filed for myself and other members of my household, which are attached, and

                  the amounts stated on such tax returns have not changed materially since the tax year of

                  such returns; OR

                        __
                             Represents an average amount calculated from the most recent two months of

                  gross income stated on four (4) consecutive paystubs from my current employment,

                  which are attached; OR

                    U My current monthly household gross income is not accurately reflected on either
                  recent tax returns or paystubs from current employment, and I have submitted instead the

                  following documents verifying current gross household income fmm employment of

                  household members:



                          In addition, I have submitted                             verifying the sources of

           income other than income from employment, as such income is not shown on [most recent tax

           return [s] or paystubs].




                                                           13
Filed 08/27/24                                     Case 24-01028                                               Doc 1
          [Updated August 2023]


                  B. Monthly Expenses

                  14.     My current monthly household expenses do/do not exceed the amounts listed

          below based on the number of people in my household for the following categories:

                  (a)    Living Expenses
                                 My expenses for food                         do exceed Ido not exceed    El
                                 $466 (one person)
                                 $777 (two persons)
                                 $93 6(three persons)
                                 $1123 (four persons)

                                 My expenses for housekeeping supplies        do exceed2l do not exceed El
                                 $47 (one person)
                                 $80 (two persons)
                                 $85 (three persons)
                                 $90 (four persons)

                                 My expenses for apparel & services           do exceed do not exceed     E]
                                 $96 (one person)
                                 $145(two persons)
                                 $207 (three persons)
                                 $252 (four persons)

                         iv.     My expenses for (non-medical) personal
                                 care products and services                   do exceeddo not exceed       5
                                 $43 (one person)
                                 $78 (two persons)
                                 $91 (three persons)
                                 $97 (four persons)

                                 My miscellaneous expenses (not included
                                 elsewhere on this Attestation)                do exceeddo not exceedfl
                                 $189 (one person)
                                 $309 (two persons)
                                 $381 (three persons)
                                 $431 (four persons)

                         vi.     My total expenses in these categories         do exceeddo not exceedfl
                                 $841 (one person)


          2  The living expenses listed in Question 14 and 15 have been adopted from the Internal Revenue
           Service Collection Financial Standards "National Standards" and "Local Standards" for the year
           in which this form is issued. This form is updated annually to reflect changes to these expenses.
                                                          -5-
Filed 08/27/24                                    Case 24-01028                                              Doc 1
          [Updated August 2023]


                                $1389 (two persons)
                                $1700 (three persons)
                                $1993 (four persons in household)
                                Add $356 per each additional member if more than four in household.

                 If you answered that your total expenses for any of the categories (i) through (v) exceed
                 the applicable amount listed in those categories, and you would like the AUSA to
                 consider your additional expenses for any such categories as necessary, you may list the
                 total expenses for any such categories and explain the need for such expenses here. (You
                 do not need to provide any additional information if you answered that your total
                 expenses did not exceed the applicable amount listed in subsection (vi)).




                 ()      Uninsured medical costs:

                         My uninsured, out of pocket medical costs do exceedfldo not exceed

                                $79 (per household member under 65)
                                $154 (per household member 65 or older)
                  If you answered that your uninsured, out of pocket medical costs exceed the listed
                  amounts for any household member, and you would like the AUSA to consider such
                  additional expenses as necessary, you may list the household member's total expenses
                  and explain the need for such expenses here.




                  [If you filed a Form 122A-2 Chapter 7 Means Test or 122C-2 Calculation of Disposable
                  Income in your bankruptcy case, you may refer to lines 6 and 7 of those forms for
                  information.13


            Forms 122A-2 and 122C-2 are referred to collectively here as the "Means Test." If you filed a
           Means Test in your bankruptcy case, you may refer to it for information requested here and in


                                                        12
Filed 08/27/24                                      Case 24-01028                                             Doc 1
          [Updated August 2023]

                 15. My current monthly household expenses in the following categories are as follows:

                   ) Payroll Deductions
                                  Taxes, Medicare and Social Security                $_328.26
                                  [You may refer to line 16 of the Means Test or Schedule I, line 51

                                  Contributions to retirement accounts               $_318.84
                                  [You may refer to line 17 of the Means Test or Schedule I, line 5]

                                  Are these contributions required
                                  as a condition of your employment?                  YESfl I NO

                                  Union dues                                         $ 41.44
                                  [You may refer to line 17 of the Means Test or Schedule I, line 51

                                  Life insurance                                     $319.04
                                  [You may refer to line 18 of the Means Test or Schedule I, line 51

                                  Are the payments for a term policy                  YES         NO   Eli]
                                  covering your life?

                         V.       Court-ordered alimony and child support            $0
                                  [You may refer to line 19 of the Means Test or Schedule I, line 5]

                                  Health insurance                                  $538.14
                                  [You may refer to line 25 of the Means Test or Schedule!, line 5]

                                  Does the policy cover any persons other than
                                  yourself and your family members?                    YESLI/ NO El

                                  Other payroll deductions
                                         Dental Plan                                   $ 131.16
                                         Vision Plan                                   $19.84
                                                                                       $




           other expense categories below. If you did not file a Means Test, you may refer to your Schedule
           I and Form 106J Your Expenses (Schedule J) in the bankruptcy case, which may also list
                              -



           information relevant to these categories. You should only use information from these documents
           if your expenses have not changed since you filed them.
                                                           -7-
Filed 08/27/24                                       Case 24-01028                                             Doc 1
          [Updated August 2 023 ]


                 (j) Housing Costs

                                   Mortgage or rent payments                          $____________



                                   Property taxes (if paid separately)                $_____________


                                   Homeowners or renters insurance                    $_______________


                                   (if paid separately)
                                   Home maintenance and repair                        $_180.00/month
                                   (average last 12 months' amounts)
                         V.        Utilities (include monthly gas, electric           $_398.00/month
                                   water, heating oil, garbage collection,
                                   residential telephone service,
                                   cell phone service, cable television,
                                   and internet se rv ice)

                 () Transportation Costs

                         i.        Vehicle payments (itemize per vehicle)             $_512.01/month
                         ii.       Mon th ly average costs of operating vehicles      $ 210.00
    •
                                   (including gas, routine maintenance,
                                   monthly insurance cost)
                         iii.      Public transportation costs                        $

                 () Other Necessary Expenses

                                Court-ordered alimony and child support payments     $                 -



                                (if not deducted from pay)
                                [You may refer to line 19 of Form 122A-2 or 122C-2 or Schedule J, line 18]

                                Babysitting, day care, nursery and preschool costs    $_____________


                                [You may refer to line 21 of Form 122A-2 or 122C-2 or Schedule J, line 8]

                                Explain the circumstances making it necessary
                                for you to expend this amount:




          '  You should list the expenses you actually pay in Housing Costs and Transportation Costs
           categories. If these expenses have not changed since you filed your Schedule J, you may refer to
           the expenses listed there, including housing expenses (generally on lines 4 through 6 of Schedule
           J) and transportation expenses (generally on lines 12, 15c and 17).

           5 Line 8 of Schedule J allows listing of expenses for "childcare and children's education costs."
           You should not list any educational expenses for your children here, aside from necessary
           nursery or preschool costs.
                                                            IN
Filed 08/27/24                                 Case 24-01028                                          Doc 1
          [Updated August 2023]




                          Health insurance                                       $________



                          (if not deducted from pay)
                          [You may refer to line 25 of the Means Test or Schedule J, line 151


                          Does the policy cover any persons other than           YES       NO   [I]
                          yourself and your family members?

                          Life insurance                                        $
                          (if not deducted from pay)
                          [You may refer to line 25 of the Means Test or Schedule J, line 15]

                             Are the payments for a term policy                  YESO/ NOL
                             covering your life?

                   V.     Dependent care (for-elderly or disabled                 $_________



                          family members)
                          [You may refer to line 26 of the Means Test or Schedule J, line 191

                          Explain the circumstances making it necessary
                          for you to expend this amount:




                    YIP   Payments on delinquent federal, state or local tax debt $________
                          [You may refer to line 35 of the Means Test or Schedule J, line 17]

                          Are these payments being made pursuant                  YESfl/ NOfl
                          to an agreement with the taxing authority?

                          Payments on other student loans
                          I am not seeking to discharge

                          Other expenses I believe necessary for
                          a minimal standard of living.

                          Explain the circumstances making it necessary
                          for you to expend this amount:




                                                      In
Filed 08/27/24                                       Case 24-01028                                               Doc 1
          [Updated August 20231

                           After deducting the foregoing monthly expenses from my household gross
                            203.27
          income, I have             [no, or amount] remaining income.

                           In addition to the foregoing expenses, I anticipate I will incur additional monthly

          expenses in the future for thy, and my depend ents ', basic needs that are currently not met.6 These

          include the following:
                  My husband is disabled, and I may have to find care for him to bath and household
                  chores because my shoulders are getting worse. I have athritis or degenerative
                  changes.




                              III. FUTURE INABILITY TO REPAY STUDENT LOANS

                           For the following reasons, it should be presumed that my financial circumstances

          are unlikely to materially improve over a significant portion of the repayment period (answer all

          that apply):

                           lam age 65 or older.
                           The student loans I am seeking to discharge have been in repayment status for at
                           least 10 years (excluding any period during which I was enrolled as a student).
                           I did not complete the degree for which I incurred the student loan[s].
                           Describe how not completing your degree has inhibited your future earning capacity:
                            I did not complete my bachelor's degree in business which limited my
                            earnings and increase of promotional potential for management or
                            adminstrative positions with higher income in my area.



                  E I have a disability or chronic injury impacting my income potential.
           6If you have forgone expenses for any basic needs and anticipate that you will incur such
           expenses in the future, you may list them here and explain the circumstances making it necessary
           for you to incur such expenses.
Filed 08/27/24                                    Case 24-01028                                               Doc 1
          [Updated August 2023]

                        Describe the disability or injury and its effects on your ability to work, and
                        indicate whether you receive any governmental benefits attributable to this
                        disability or injury:




                        I have been unemployed for at least five of the past ten years.
                        Please explain your efforts to obtain employment.
                         I have always try to find work to help with adding income to our household
                         with raising five children.




                 19.    For the following additional reasons, my financial circumstances are unlikely to

          materially improve over a significant portion of the repayment period (answer all that apply):

                 LI      I incurred the student loans I am seeking to discharge in pursuit of a degree from
                         an institution that is now closed.

                         Describe how the school closure inhibited your future earnings capacity:




                 1- 1    I am not currently employed.
                         I am currently employed, but I am unable to obtain employment in the field for
                         which I am educated or have received specialized training.
                         Describe reasons for inability to obtain such employment, and indicate if you
                         have ever been able to obtain such employment:




                                                         -11-
Filed 08/27/24                                       Case 24-01028                                               Doc 1
          [Updated August 2023]

                          I am currently employed, but my income is insufficient to pay my loans and
                          unlikely to increase to an amount necessary to make substantial payments on the
                          student loans I am seeking to discharge.
                          Please explain why you believe this is so:
                          A raise of income in my current employment is only likely on a annual
                          evaluation. This means it is only going to be a $1 increase. This is not a high
                          hike where it will impact my income to pay my student loans back.




                 LIII     Other circumstances exist making it unlikely I will be able to make payments for
                          a significant part of the repayment period.
                          Explain these circumstances:




                                     IV. PRIOR EFFORTS TO REPAY LOANS

                          I have made good faith efforts to repay the student loans at issue in this

          proceeding, including the following efforts:

                          Since receiving the student loans at issue, I have made a total of   $            in

           payments on the loans, including the following:

                        regular monthly payments of $          each.

                  -
                        additional payments, including $              ,$        ,   and   $________




                          I have applied for 28 forbearances or deferments. I spent a period totaling

           months in forbearance or deferment.

                           I have attempted to contact the company that services or collects on my student

           loans or the Department of Education regarding payment options, forbearance and deferment
                                                      27
           options, or loan consolidation at least           times.


                                                           -12-
Filed 08/27/24                                    Case 24-01028                                                Doc 1
          [Updated August 2023]

                        I have sought to enroll in one or more "Income Driven Repayment Programs" or

          similar repayment programs offered by the Department of Education, including the following:

                 Description of efforts:
                  applying for Income Driven Repayment Program every year I get a chance to when I
                  knew about it.




                         [If you did not enroll in such a program]. I have not enrolled in an "Income

          Driven Repayment Program" or similar repayment program offered by the Department of

          Education for the following reasons:




                         Describe any other facts indicating you have acted in good faith in the past in

           attempting to repay the student loan(s) you are seeking to discharge. These may include efforts

           to obtain employment, maximize your income, or minimize your expenses. They also may

           include any efforts you made to apply for a federal loan consolidation, respond to outreach from

           a loan servicer or collector, or engage meaningfully with a third party you believed would assist

           you in managing your student loan debt.




                                                          -13-
Filed 08/27/24                                             Case 24-01028                                                    Doc 1
          [Updated August 2023]

                                                     V. CURRENT ASSETS

                             I own the following parcels of real estate:
                                                 5536W. Cromwell Avenue
                    Address:
                                                     Fresno, CA 93722



                                                 Carol & Raymond Tavita
                    Owners:7




                                                  Tonka investments & J. Bustamante



                                                            $510,000
                    Fair   market   value:




                                                            $320,000
                    Total   balance   of



                    mortgages and
                    other liens.


                             I own the following motor vehicles:
                                                    2022 Mazda MX-30
                    Make    and   model:




                                                            18,500.00
                    Fair   market   value:




                                                           22,944.00
                    Total   balance   of



                    Vehicle loans
                    And other liens
                                                               1
                             I hold a total of                                    in retirement assets, held in 401k, IRA

           and similar retirement accounts.

                             I own the following interests in a corporation, limited liability company,

           partnership, or other entity:




           '
               List by name all owners of record (self and spouse, for example)
                                                                    -14-
Filed 08/27/24                                      Case 24-01028                                                 Doc 1
          [Updated August 20231


                  Name of entity                        State incorporated8              Type9 and %age
                                                                                         Interest




                         I currently am anticipating receiving a tax refund totaling $    3,03100


                                       VI. ADDITIONAL CIRCUMSTANCES

                         I submit the following circumstances as additional support for my effort to

          discharge my student loans as an "undue hardship" under 11 U.S.C. §523 (a)(8):




          Pursuant to 28 U.S.C. § 1746,1 declare under penalty ofpeijury that the foregoing is true and
          correct.

                                                                    v7                         y7
                                                                 (.
                                                                 Stature:
                                                                 Carol A. Tavita
                                                                 Name:

                                                                 08/27/2024
                                                                 Date:




            The state, if any, in which the entity is incorporated. Partnerships, joint ventures and some other
           business entities might not be incorporated.

            For example, shares, membership interest, partnership interest.
                                                          -15-
Filed 08/27/24                                                                                Case 24-01028                                                             Doc 1
IRS National Standards for Allowable Living Expenses

                                                                             (Cases Filed On or After May 15, 2024)




                                                 Note: The IRS expense figures posted on this Web site are for use in completing bankruptcy forms. They
                                                 are not for use in computing taxes or for any other tax administration purpose. Expense information for
                                                 tax purposes can be found on the IRS Web Site.




                                                            Collection Financial Standards for Food, Clothing and Other Items
                                             I


                                                 Expense                                One Person             Two Persons       Three Persons          Four Persons

                                                 Food                                            $458                  $820                  $977             $1143

                                                 Housekeeping supplies                            $44                   $75                   $83                $82

                                                 Apparel & services                               $87                  $157                  $187               $300

                                                 Personal care products &                         $48                   $80                   $87                $97
                                                 services

                                                 Miscellaneous                                   $171                  $279                  $343               $405

                                                 Total                                          $808               $1,411                $1,677              $2,027




                                                 More than four persons                                                              Additional Amount Per Person

                                                 For each additional person, add to four-person total allowance:                                                $386




                                                              Bankruptcy Allowable Living Expenses National Standards (See 11 U.S.C. 3 707(b)(2XA)(1I)(1))
                                                                                                    -




                                                 Expense                                      One Person         Two Persons       Three Persons        Four Persons

                                                 Food & Clothing (Apparel & Services)*                  $545              $977                $1,164           $1,443

                                                 5% of Food & Clothing                                  $27                $49                  $58             $72
Filed 08/27/24                                               Case 24-01028                                          Doc 1
                     More than four persons                                          Additional Amount Per Person

                     Food & Clothing (Apparel & Services)*                       -                           $275

                     5%of Food &Clothing                                                                     $14


                 *
                   This total may differ from the Combination of the two amounts on the table above due to
                 rounding.
